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           In the United States Court of Federal Claims
____________________________________
                                  )
PRECISION PINE & TIMBER, INC., )
                                  )                          No. 98-720 C
                                  )
                 Plaintiff,       )
v.                                )                          Filed April 29, 2005
                                  )
THE UNITED STATES,                )
                                  )
                 Defendant.       )
_________________________________)


                                             ORDER

        On August 24, 2004, plaintiff filed a Motion in Limine to Exclude the Report, Testimony,
and Declaration of Defendant’s Putative Expert Witness, Charles P. Adkins, document 258.
Briefing on this motion was deferred. Defendant filed a Response to plaintiff’s motion on April
28, 2005, document 327. The Court will evaluate Mr. Adkins’ qualification as an expert witness
after the voir dire. Additionally, in the event that Mr. Adkins is qualified as an expert, plaintiff
will have an opportunity to cross-examine the witness and in reaching a decision after trial, the
Court will give his testimony the weight it deserves. Accordingly, plaintiff’s Motion in Limine to
Exclude the Report, Testimony, and Declaration of Defendant’s Putative Expert Witness, Charles
P. Adkins is DENIED.


IT IS SO ORDERED.

                                                      s/ George W. Miller
                                                     GEORGE W. MILLER
                                                     Judge
